                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE




UNITED STATES OF AMERICA,                               )
                                                        )
v.                                                      )      No. 3:05-CR-142
                                                        )      (Phillips)
ROBERT L. SMITH                                         )



                                         ORDER

              By order entered May 8, 2006, defendant was committed for a mental health

evaluation to determine his competence to stand trial and mental state at the time of the

charged offense. On September 12, 2006, the forensic evaluation conducted by the

Federal Medical Center, Lexington, Kentucky, was filed with the court [Doc. 85]. On

December 6, 2006, this matter came before the court for defendant’s competency hearing

under 18 U.S.C. §§ 4241 and 4242, at which time defendant stated, through counsel, that

he did not contest the findings of competency made by Karen Milliner, Psy.D. and Michael

Helvey, Ph.D., that defendant is not currently suffering from a mental disease or defect

rendering him mentally incompetent to the extent he is unable to understand the nature and

consequences of the proceedings against him or to properly assist in his defense.



              Dr. Millner also found no indication that defendant was experiencing a

significantly impaired ability to understand the wrongfulness of the behavior comprising the




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charged offenses, exercise the power of reason, or control behavior he knew was wrong

at the time of the offenses.



              After carefully considering defendant’s forensic evaluation, the materials

produced, the statements of counsel for the defendant and for the government, and the

record as a whole, the court fails to find by a preponderance of the evidence that defendant

is presently suffering from a mental disease or defect rendering him mentally incompetent

to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense.



              It is therefore, ORDERED:

              1.     Defendant is found competent to stand trial on
                     the charged offenses; and

              2.     This matter is set for sentencing on February 9,
                     2007 at 9:00 a.m.


                                          ENTER:


                                                 s/ Thomas W. Phillips
                                               United States District Judge




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